                            Case 4:13-cr-00040-BSM Document 83 Filed 12/20/13 Page 1 of 6
A0245B        (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURJAMes IN. DEC .2 Z013                                        °
                                                           Eastern Dis~ict of Arkansas                ·    By:_.._,~-4-S:::~~~~~~~
              UNITED STATES OF AMERICA                                    )        JUDGMENT IN A CRIMINAL CAS
                                  v.                                     )
              REYKEL PLASENCIA-QUESADA                                   )
                                                                         )         Case Number: 4:13CR00040-01 BSM
                                                                         )         USM Number: 27469-009
                                                                         )
                                                                         )         Arkie Byrd
                                                                                   Defendant's Attorney
THE DEFENDANT:
[it(pleaded guilty to count(s)         1 of the Superseding Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended                Count
 18 usc§ 371                       Conspiracy to Use Counterfeit Access Devices, a Class D                   1/23/2013                   1s

                                   Felony



       The defendant is sentenced as provided in pages 2 through          __6___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
ft'count(s)     2s                                       ~is      D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                              12/13/2013
                                                                          Date of Imposition of Judgment            '


                                                                      --~,-~~
                                                                          Signature of Judge




                                                                              Brian S. Miller                           U. S. District Judge
                                                                          Name and Title of Judge




                                                                          Date
                            Case 4:13-cr-00040-BSM Document 83 Filed 12/20/13 Page 2 of 6
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgment- Page _ 2 _ o f   6
DEFENDANT: REYKEL PLASENCIA-QUESADA
CASE NUMBER: 4:13CR00040-01 BSM


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 TIME SERVED




    D The court makes the following recommendations to the Bureau of Prisons:




    2f The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at      -------------------
                                                     D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a -------------------------------- , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL



                                                                        By --------~====~==~~==~~~~-------­
                                                                                   DEPUTY UNITED STATES MARSHAL
                               Case 4:13-cr-00040-BSM Document 83 Filed 12/20/13 Page 3 of 6
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3 - Supervised Release

                                                                                                            Judgment-Page   --'3"------ of      6
DEFENDANT: REYKEL PLASENCIA-QUESADA
CASE NUMBER: 4:13CR00040-01 BSM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 TWO (2) YEARS


        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act ( 42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the l3ureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any 2ersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observei:i in plain view of the probation officer;
 11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
AO 245B
                         Case 4:13-cr-00040-BSM Document 83 Filed 12/20/13 Page 4 of 6
          (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                            Judgment-Page   _4__.:____ of   6
DEFENDANT: REYKEL PLASENCIA-QUESADA
CASE NUMBER: 4:13CR00040-01 BSM

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. If the defendant is deported, a special condition is imposed where he will not be allowed to return to the United States
 during the period of his supervised release. If he does return, it will be considered a violation of his supervised release.

 2. Restitution of $9,206.47 is mandatory and is payable to Banco Bradesco located in Brazil during the term of supervised
 release. Beginning the first month of supervised release, payments will be 10 percent per month of the defendant's
 monthly gross income. The interest requirement is waived. Restitution shall be joint and serval with any other person who
 has been or will be convicted on an offense for which restitution to the same victim on the same loss is ordered.
AO 245B                    Case
          (Rev. 09/11) Judgment in a 4:13-cr-00040-BSM
                                     Criminal Case            Document 83 Filed 12/20/13 Page 5 of 6
          Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment- Page _ _5=----    of         6
DEFENDANT: REYKEL PLASENCIA-QUESADA
CASE NUMBER: 4:13CR00040-01 SSM
                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                                       Fine                                 Restitution
TOTALS           $ 100.00                                        $ 0.00                               $ 9,206.47


D The determination of restitution is deferred until ___ . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately pro]Jortioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is patd.

 Name of Payee                                                       Total Loss*           Restitution Ordered Priority or Percentage
  Banco Bradesco                                                                                      $9,206.47




 TOTALS                           $                       0.00                     9,206.47
                                                                        $ ---------~----
                                      ----------

 D    Restitution amount ordered pursuant to plea agreement $
                                                                   --------------------
 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ri/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     ri/ the interest requirement is waived for the D fine ri/ restitution.
      D the interest requirement for the      D    fine    D restitution is modified as follows:


 *Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113AofTitle 18 for offenses committed on or after
 September 13, 1994, but before April23, 1990.
AO 245B                     Case
           (Rev. 09/11) Judgment in a 4:13-cr-00040-BSM
                                      Criminal Case                Document 83 Filed 12/20/13 Page 6 of 6
           Sheet 6 - Schedule of Payments

                                                                                                              Judgment- Page _      _,.6_ of            6
DEFENDANT: REYKEL PLASENCIA-QUESADA
CASE NUMBER: 4:13CR00040-01 BSM


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~ Lump sum payment of$ _10_0_._0_0_ _ __ due immediately, balance due

                 not later than                                     , or
                 in accordance         D c,        0    D,     D      E,or     ~ Fbelow; or

B     D    Payment to begin immediately (may be combined with                DC,         D D, or       D F below); or

C     D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ri/ Special instructions regarding the payment of criminal monetary penalties:
            Restitution of $9,206.47 is mandatory and is payable to Banco Bradesco located in Brazil during term of
            supervised release. Beginning the first month of supervised release, payments will be 10 percent per month of the
            defendant's monthly gross income. The interest requirement is waived. Restitution shall be joint and several with
            any other person who has been or will be convicted on an offense for which restitution to the same victim on the
            same loss is ordered.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 ri/ Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       4:13cr00040-01 Reykel Plasencia-Quesada; 4:13cr0004-02 Jose M. Garcia; and 4:13cr00040-03 Erit R. Brito-Lugo




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in .the fol~ow.ing order: (1) ~ssessment, (2) re~titutiqn principal, (3) rest~tution interest, ( 4) fine principal,
 (5) fine interest, (6) commumty restitution, (7) penalttes, and (8) costs, mcludmg cost of prosecution and court costs.
